         Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 1 of 6                                  l
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                  X


UNITED STATES OF AMERICA                                   Co"'5tb/f
                                                         ~         PRELIMINARY ORDER
               - V. -                                     OF FORFEITURE AS TO SPECIFIC
                                                          PROPERTY/
INIGO AUGUST PHILBRICK,                                   MONEY JUDGMENT

                        Defendant.                        20 Cr. 351 (SHS)

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               WHEREAS, on or about July 13, 2020, INIGO AUGUST PHILBRICK (the

"Defendant"), was charged in a two-count Indictment, 20 Cr. 351 (SHS) (the "Indictment"), with
                                                                               '
wire fraud, in violation of Title 18, United States Code, Sections 1343 and 2 (Count One); and

aggravated identity theft, in violation of Title 18, United States Code, Sections 1028A(a)(l ),

1028A(c)(5), and 2 (Count Two);

               WHEREAS, the Indictment included a forfeiture allegation as to Count One of the

Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States Code,

Section 981(a)(l)(c) and Title 28, United States Code, Section 2461(c), of any and all property,

real and personal, that constitutes or is derived from proceeds traceable to the commission of the

offense charged in Count One of the Indictment, including but not limited to a sum of money in

United States currency representing the amount of proceeds traceable to the commission of the

offense charged in Count One of the Indictment;

               WHEREAS, on or about November 18, 2021, the Defendant pled guilty to Count

One of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant

admitted the forfeiture allegation with respect to Count One of the Indictment and agreed to forfeit,

pursuant to Title 18, U nited States Code, Section 981(a)(l)(C) and Title 28 United States Code,

Section 2461(c) : (i) a sum of money equal to $86,672,790.00 in United States currency,
            Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 2 of 6




representing proceeds traceable to the commission of the offense charged in Count One of the

Indictment; and (ii) all right, title and interest of the defendant in the following specific property:

                    a. Untitled 1998 painting by Christopher Wool, 108 x 72 inches; and
                    b. Untitled2018 painting by Wade Guyton, 40 x 36 inches

(a. and b., collectively the "Specific Property");

                WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of to $86,672,790.00 in United States currency representing the amount of proceeds

traceable to the offense charged in Count One of the Indictment that the Defendant personally

obtained;

                WHEREAS, the Defendant further consents to the forfeiture of all his right, title

and interest in the Specific Property which constitutes proceeds of the offense charged in Count

One of the Indictment;

                WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count One of the Indictment that the

Defendant personally obtained cannot be located upon the exercise of due diligence, with the

exception of the Specific Property; and

                WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules

32.2(b)(3), and 32.2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now

entitled, pending any assertion of third-party claims, to reduce the ·Specific Property to its

possession and to notify any and all persons who reasonably appear to be a potential claimant of

their interest herein;

                IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Damian Williams, United States Attorney, Assistant United States
         Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 3 of 6




Attorneys Jessica Feinstein and Cecilia Vogel, of counsel, and the Defendant, and his counsel,

Jeffrey Lichtman, Esq. and Jeffrey Einhorn, Esq., that:

               1.        As a result of the offense charged in Count One of the Indictment, to which

the Defendant pled guilty, a money judgment in the amount of $86,672,790.00 in United States

currency (the "Money Judgment"), representing the amount of proceeds traceable to the offense

charged in Count One of the Indictment that the Defendant personally obtained, shall be entered

against the Defendant.

               2.        As a result of the offense charged in Count One of the Indictment, to which

the Defendant pled guilty, all of the Defendant's right, title and interest in the Specific Property is

hereby forfeited to the United States for disposition in accordance with the law, subject to the

provisions of Title 21, United States Code, Section 853.

                3.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture as to Specific Property/Money Judgment is final as to the

Defendant, INIGO AUGUST PHILBRICK, and shall be deemed part of the sentence of the

Defendant, and shall be included in the judgment of conviction therewith.

                4.       All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable to the United States Marshals Service, and

delivered by mail to the United States Attorney's Office, Southern District of New York, Attn:

Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew's Plaza, New

York, New York 10007 and shall indicate the Defendant' s name and case number.

                5.       The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.
         Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 4 of 6




               6.       Upon entry of this Consent Preliminary Order of Forfeiture as to Specific

Property/Money Judgment, the United States (or its designee) is hereby authorized to take

possession of the Specific Property and to hold such property in its secure custody and control.

               7.       Pursuant to Title 21, United States Code, Section 853(n)(l ), Rule 32.2(b)( 6)

of the Federal Rules of Criminal Procedure, and Rules G( 4)(a)(iv)(C) and G(5)(a)(ii) of the

Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the

United States is permitted to publish forfeiture notices on the government internet site,

www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally

published in newspapers. The United States forthwith shall publish the internet ad for at least thirty

(30) consecutive days. Any person, other than the Defendant, claiming interest in the Specific

Property must file a Petition within sixty (60) days from the first day of publication of the Notice

on this official government internet web site, or no later than thirty-five (35) days from the mailing

of actual notice, whichever is earlier.

                8.      The published notice of forfeiture shall state that the petition (i) shall be for

a hearing to adjudicate the validity of the petitioner's alleged interest in the Specific Property, (ii)

shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and

extent of the petitioner's right, title or interest in the Specific Property, the time and circumstances

of the petitioner's acquisition of the right, title and interest in the Specific Property, any additional

facts supporting the petitioner' s claim, and the relief sought, pursuant to Title 21, United States

Code, Section 853(n).

                9.      Pursuant to 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure, the

Government shall send notice to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in the ancillary proceeding.
         Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 5 of 6




               10.      Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture with respect to the Specific Property pursuant to Title 21, United States Code,

Section 853(n), in which all interests will be addressed. All Specific Property forfeited to the

United States under a Final Order of Forfeiture shall be applied towards the satisfaction of the

Money Judgment.

               11.      Pursuant to Title 21 , United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               12.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney's Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               13.      The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture as to Specific Property/Money Judgment, and to amend it as necessary, pursuant to

Rule 32.2 of the Federal Rules of Criminal Procedure.



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                         Case 1:20-cr-00351-SHS Document 45 Filed 11/18/21 Page 6 of 6
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                               14.    The signature page of this Consent Preliminary Order of Forfeiture as to

                Specific Property/Money Judgment may be executed in one or more counterparts, each of which

                will be deemed an original but all of which together will constitute one and the same instrument.

                AGREED AND CONSENTED TO:

                DAMIAN WILLIAMS
                United States Attorney for the
                Southern District of New York




                By:     CL J.2
                       JESSICA FEINSTfrN
                                                                                    11(1d2.,
                                                                                    DATE
                       CECILIA VOGEL
                       Assistant United States Attorneys
                       One St. Andrew's Plaza
                       New York, NY 10007
                       (212) 637-1946/1084


                INIGO AUGUST PHILBRICK



                By:     ~
                       IN1GO AUGUST PHILBRICK
                                                                                    ll-tf-J,(
                                                                                    DATE



                By:          ~
                       JEFFREY LICHTMAN, ESQ.
                                                                                   I ,- C <P- ~ )
                                                                                    DATE
                       JEFFREY EINHORN, ESQ.
                       11 East 44th Street
                       New York, NY 10017




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                         LE SIDNEY H. STEIN
                UNITED STATES DISTRICT JUDGE
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